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                       6 Attorneys for Lynda T. Bui,
                         Chapter 7 Trustee
                       7

                       8                                    UNITED STATES BANKRUPTCY COURT

                       9                     CENTRAL DISTRICT OF CALIFORNIA, RIVERSIDE DIVISION

                     10

                     11 In re                                                      Case No. 6:16-bk-16877-WJ

                     12 RUSSEL DENNIS HILES, III,                                  Chapter 7

                     13                          Debtor.                           STIPULATION BETWEEN THE
                                                                                   CHAPTER 7 TRUSTEE AND SECURED
                     14                                                            CREDITOR WILMINGTON SAVINGS
                                                                                   FUND SOCIETY, FSB TO CONTINUE
                     15                                                            THE EVIDENTIARY HEARING RE
                                                                                   SECURED CREDITOR’S MOTION FOR
                     16                                                            RELIEF FROM THE AUTOMATIC STAY
                                                                                   UNDER 11 U.S.C. § 362 (REAL
                     17                                                            PROPERTY)

                     18                                                            Current Hearing:
                                                                                   Date:   December 28, 2018
                     19                                                            Time:   10:00 a.m.
                                                                                   Ctrm.: 304
                     20                                                            Place: United States Bankruptcy Court
                                                                                           3420 Twelfth Street
                     21                                                                    Riverside, CA 92501
                     22

                     23              TO THE HONORABLE WAYNE JOHNSON, UNITED STATES BANKRUPTCY

                     24 JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE AND ALL INTERESTED

                     25 PARTIES:

                     26              Lynda T. Bui, the duly appointed, qualified, and acting Chapter 7 Trustee (“Trustee”) for the

                     27 bankruptcy estate of Russel Dennis Hiles, III (“Debtors”), by and through her attorney, Rika M.

                     28 Kido of Shulman Hodges & Bastian LLP, and Wilmington Savings Fund Society, FSB, as trustee
 SHULMAN HODGES &
      BASTIAN LLP
100 Spectrum Center Drive
        Suite 600                                                              1
    Irvine, CA 92618        5401-000\1245987.1
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                       1 of Stanwich Mortgage Loan Trust A, its assignees and/or successors (“Movant”), by and through its

                       2 attorney, Nancy L. Lee of McCarthy & Holthus LLP (collectively, the “Parties”), hereby agree and

                       3 stipulate based on the following recitals:

                       4                                                    I.      RECITALS

                       5               1.        The Debtor commenced the instant bankruptcy case by filing a Voluntary Petition

                       6 for relief under Chapter 11 of the Bankruptcy Code on August 1, 2016 (“Petition Date”).

                       7               2.        On December 21, 2017, the instant bankruptcy case was converted to a case under

                       8 Chapter 7 of the Bankruptcy Code. The Trustee is the duly appointed and acting Chapter 7 trustee

                       9 of the Debtor’s Estate.

                     10                3.        On his Schedule A/B, the Debtor lists his ownership of the real property located at

                     11 155 Metate Place, Palm Desert, California 92260 (“Property”). On his Schedule C, the Debtor

                     12 claimed an exemption in the amount of $175,000.00 pursuant to California Code of Civil Procedure

                     13 § 704.730.

                     14                4.        The Debtor listed the value of the Property at $2,750,000.00 and on his Schedule D,

                     15 listed the following liens totaling $2,824,674.62: (1) lien in favor of Bank of America1 in the amount

                     16 of $1,395,102.00; (2) lien in favor of De Castro, West, Chodorow, Mendler, Glickfeld & Nass, Inc.

                     17 (“De Castro”) in the amount of $60,000.00 (“De Castro DOT”)2; and (3) lien in favor of the

                     18 California Franchise Tax Board (“FTB”) in the amount of $1,369,572.62 (“FTB Lien”)3.

                     19                5.        On March 2, 2018, the Court entered an Order Authorizing the Trustee to Employ
                     20 GlassRatner Brokerage Services, Inc. (“Broker”), Docket No. 316. The Property is currently listed

                     21 at a price of $1,975,000.00.

                     22

                     23     1
                              As provided in the MRFS, Bank of America, N.A. assigned its deed of trust against the Property to the Movant on
                            February 24, 2017. Pursuant to a payoff statement dated December 13, 2018, the total owed to the Movant as of June
                     24     30, 2018 is $1,527,078.67.
                            2
                     25      Judgment in Favor of Plaintiff and Against Defendant was entered on September 20, 2018 in Bui v. De Castro, et. al.,
                            Case No. 6:18-ap-01154-WJ (“De Castro Judgment”). The De Castro Judgment avoids the De Castro DOT in the
                            amount of $60,000.00 as a preferential transfer.
                     26
                            3
                                On July 10, 2018, the Trustee filed a Complaint for: (1) Avoidance of Preferential Transfers and Recovery of Same
                     27 [11 U.S.C. §§ 547, 550]; (2) Preservation of Avoided Transfers [11 U.S.C. § 551]; and (3) Disallowance of Claims [11
                            U.S.C. § 502(d)] (“FTB Complaint”) against the FTB, in the United States Bankruptcy Court, Central District, Riverside
                     28 Division, commencing Adversary Case No. 6:18-ap-01151-WJ (“FTB AP”). A Pre-Trail Conference is scheduled for
 SHULMAN HODGES &
                            March 14, 2019 at 1:30 p.m.
      BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
    Irvine, CA 92618
                            5401-000\1314486.1                                         2
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                       1               6.        On August 22, 2017, Movant filed its Notice of Motion and Motion for Relief From

                       2 the Automatic Stay Under 11 U.S.C. § 362, Docket No. 207 (“MRFS”). Movant and Debtor (and

                       3 later the Trustee) agreed to stipulate to continue the hearing several times to July 5, 2018.

                       4               7.        At the continued hearing on July 5, 2018, the Court continued the hearing to July 20,

                       5 2018 at 1:00 p.m., at which time the Court indicated that it would conduct an evidentiary hearing.

                       6 The Court gave the Trustee until July 13, 2018 to file a full opposition to the MRFS. The Court also

                       7 ordered that the Trustee and Broker (defined below) be present at the evidentiary hearing.

                       8               8.        On July 13, 2018, the Trustee filed her Opposition to the MRFS, Docket No. 344

                       9 (“Opposition”). The Opposition included declarations from both the Trustee and the Broker, which

                     10 provided a detailed timeline of the marketing of the Property.

                     11                9.        On October 16, 2018, the Court entered the Order Continuing Evidentiary Hearing

                     12 Regarding the Motion for Relief from the Automatic Stay Under 11 U.S.C. § 362 (Real Property),

                     13 Docket No. 374 (“MRFS Order”). Pursuant to the MRFS Order, the evidentiary hearing on the

                     14 MRFS was continued to December 28, 2018 at 10:00 a.m. (“MRFS Hearing”).

                     15                10.       The Trustee’s counsel and the Movant’s counsel have been in communication since

                     16 July regarding the MRFS Hearing, the status of the adversary proceedings against De Castro and

                     17 the FTB, and Trustee’s efforts to market the Property for sale.4 Given the status, the Movant has

                     18 agreed to continue the MRFS Hearing for approximately forty-five (45) days to give the Trustee

                     19 time to continue her efforts to market the Property for sale.

                     20                11.       The Trustee has agreed to file a Status Report with the Court one (1) week prior to
                     21 the continued hearing on the MRFS in order to keep the Court apprised of the status of the

                     22 administration of the Property. The Trustee has further agreed to advise Movant of any interest in

                     23 the Property.

                     24

                     25

                     26
                            4
                                The broker has advised the Trustee that there has been a noticeable increase in interest in the Property within the past
                     27 few month as the selling season in the desert has started up again. Specifically, the Trustee has received several offers,
                            two of which she countered, but the buyers either indicated that they were no longer interested or would not agree to
                     28 bankruptcy terms for the sale. The broker has advised the Trustee that two groups toured the property over the weekend
 SHULMAN HODGES &
                            and one of them indicated they would have an offer to the Trustee shortly.
      BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
    Irvine, CA 92618
                            5401-000\1314486.1                                            3
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                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 100
Spectrum Center Drive, Suite 600, Irvine, CA 92618.

A true and correct copy of the foregoing document entitled (specify): STIPULATION BETWEEN THE CHAPTER 7
TRUSTEE AND SECURED CREDITOR WILMINGTON SAVINGS FUND SOCIETY, FSB TO CONTINUE THE
HEARING RE SECURED CREDITOR’S MOTION FOR RELIEF FROM THE AUTOMATIC STAY UNDER 11 U.S.C. §
362 (REAL PROPERTY) will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) December 20. 2018 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:

• CHAPTER 7 TRUSTEE: Lynda T. Bui (TR) trustee.bui@shbllp.com, C115@ecfcbis.com
• DEBTOR'S COUNSEL: Robert P Goe kmurphy@goeforlaw.com,
rgoe@goeforlaw.com;goeforecf@gmail.com
• INTERESTED PARTY: Everett L Green everett.l.green@usdoj.gov
• COUNSEL FOR CHAPTER 7 TRUSTEE: Rika Kido rkido@shbllp.com, ncarlson@shbllp.com
• INTERESTED PARTY: Samuel Kornhauser skornhauser@earthlink.net
INTERESTED PARTY: Nancy L Lee bknotice@mccarthyholthus.com, nlee@ecf.courtdrive.com
• INTERESTED PARTY: Joshua Lichtman joshua.lichtman@nortonrosefulbright.com,
Rhonda.cole@nortonrosefulbright.com
• INTERESTED PARTY: Charity J Manee cmiller@goeforlaw.com,
kmurphy@goeforlaw.com;goeforecf@gmail.com
                                                             Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) December 20, 2018 , I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

Judge's Copy
The Honorable Wayne E. Johnson
U.S. Bankruptcy Court
3420 Twelfth Street, Suite 384
Riverside, CA 92501
                                                                                    Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
(date)                     , I served the following persons and/or entities by personal delivery, overnight mail service,
or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.


                                                                                    Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  December 20, 2018                       Nicole Carlson                                        /s/ Nicole Carlson
  Date                                    Printed Name                                          Signature


        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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                                            ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

• INTERESTED PARTY: William F McDonald Caecf@tblaw.com, wfm@tblaw.com;snchampney@tblaw.com
• INTERESTED PARTY: Randall P Mroczynski randym@cookseylaw.com
• INTERESTED PARTY: Ronak N Patel rpatel@rivco.org, gabgarcia@rivco.org;mdominguez@rivco.org
• INTERESTED PARTY: Steven G. Polard spolard@eisnerlaw.com, lewing@eisnerlaw.com
• MOVANT'S COUNSEL: Kelly M Raftery bknotice@mccarthyholthus.com, kraftery@ecf.courtdrive.com
• INTERESTED PARTY: Jason K Schrader jason.K.Schrader@usdoj.gov
  INTERESTED PARTY: Anthony Sgherzi anthony.sgherzi@doj.ca.gov
• COUNSEL FOR CHAPTER 7 TRUSTEE: Leonard M Shulman lshulman@shbllp.com
• INTERESTED PARTY: United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov
• INTERESTED PARTY: Scott S Weltman colcaecf@weltman.com
• INTERESTED PARTY: Rebecca J Winthrop rebecca.winthrop@nortonrosefulbright.com,
evette.rodriguez@nortonrosefulbright.com
• INTERESTED PARTY: Jennifer C Wong bknotice@mccarthyholthus.com, jwong@ecf.courtdrive.com
• INTERESTED PARTY: Kristin A Zilberstein ecfnotifications@ghidottilaw.com




       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
